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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 22-cr-212-RMR

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 JOSEPH EUGENE CLEMENTS

        Defendant.


      FINAL ORDER OF FORFEITURE PURSUANT TO FEDERAL RULES OF
                 CRIMINAL PROCEDURE, RULE 32.2(c)(2)

        On November 22, 2022, the Defendant pleaded guilty to Count One and Count Five

 charged in the Indictment. (Doc. 55). In the Plea Agreement, the Defendant admits to the

 forfeiture allegations in the Indictment. Specifically, the Defendant agrees to the forfeiture of

 $5,100.00 in United States currency; $16,924.00 in United States currency; $24,260.00 in United

 States currency; and 2.98 EA SOLANA Cryptocurrency valued at $95.33, all seized from the

 Defendant. (Doc. 56 at 2).

        IT IS FURTHER HEREBY ORDERED, ADJUDGED AND DECREED this

 court having found that the Defendant convicted in this case had an interest in the forfeitable

 property under 21 U.S.C. § 853; and 18 U.S.C. § 982(1) and all right, title and interest to the

 properties described below is hereby condemned, forfeited and vested in the United States of

 America, and shall be disposed of according to law:

          -   $5,100.00 in United States currency;

          -   $16,924.00 in United States currency;

          -   $24,260.00 in United States currency;
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          -   and 2.98 EA SOLANA Cryptocurrency valued at $95.33, all seized from

              the Defendant

          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the United

  States has clear title to all the property listed above.

          IT IS FURTHER ORDERED that the United States return the EA Tesla Model 3

  (VIN 5YJ3E1EC6MR997228), to the Defendant or his assignee.

          IT IS FURTHER ORDERED that the United States District Court shall retain

  jurisdiction in the case for the purpose of enforcing this Order.

        SO ORDERED this ____ day of February, 2023.




                                                ________________________________
                                                United States District Court Judge
